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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR306
                       Plaintiff,              )
                                               )
       vs.                                     )                    ORDER
                                               )
FREDY AGUILAR-PORTILO and                      )
JOSE SALAZAR-BILLALBA,                         )
                                               )
                       Defendants.             )
       This matter is before the court on the motions to continue by defendants Fredy
Aguilar-Portilo (Aguilar-Portilo) (Filing No. 74) and Jose Salazar-Billalba (Salazar-Billalba)
(Filing No. 75). The defendants seek a continuance of the trial of this matter scheduled for
June 6, 2015. Salazar-Billalba’s counsel represents Salazar-Billalba will file an affidavit
whereby Salazar-Billalba consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Counsel
represent that government’s counsel has no objection to the motions. Upon consideration,
the motions will be granted, and trial will be continued as to both defendants.


       IT IS ORDERED:
       1.     Aguilar-Portilo and Salazar-Billalba’s motions to continue trial (Filing Nos. 74
and 75) are granted.
       2.     Trial of this matter as to both defendants is re-scheduled for July 6, 2015,
before Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motions and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motions, i.e., the
time between May 27, 2015, and July 6, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants’ counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 27th day of May, 2015.
                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
